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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  OUR BOAT HOUSE, INC,
  a Florida for-profit corporation,

        Defendant.
  ______________________________________/

                                           COMPLAINT


         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant OUR

  BOAT HOUSE, INC, a Florida for-profit corporation, and alleges as follows:


         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This further is an action for declaratory and injunctive relief, damages, attorney’s fees,

  costs, and expenses for lawful discrimination in violation of the Rehabilitation Act of 1973, 29

  U.S.C. §794, et seq. (“Rehab Act”). This is also an action for declaratory and injunctive relief to

  prevent the continuing act of trespass against the Plaintiff’s personal property and for

  compensatory damages to Plaintiff for such trespass. Remedies provided under common law for

  trespass are not exclusive and may be sought in connection with suits brought under the ADA

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and




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  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary

  jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”). Plaintiff also is expressly authorized to bring this case as an otherwise

  qualified individual with a disability under the Rehab Act, 29 U.S.C. §§794(a)(2) and

  794(b)(3)(A), and under Section 505-f the Rehab Act which enforces Section 504 of the Rehab

  Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies set forth in Title VI of the

  Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  Because of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and has limited use of his left hand. Further, because of his disease, Plaintiff has

  developed optic neuritis and is visually disabled, with complete blindness in one eye and limited

  vision in the other eye. Plaintiff thus is substantially limited in performing one or more major life

  activities, including, but not limited to, sight, accurately visualizing his world, and adequately

  traversing obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C.

  §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and

  in 42 U.S.C. §3602(h). Plaintiff also is an otherwise qualified individual with a disability who has

  been denied the benefits of a program or activity receiving federal financial assistance and is thus

  covered by the Rehab Act, 29 U.S.C. §794(a) and (b).



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         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent. At

  a rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory—rather than visual—cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word

  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida for-profit corporation authorized to do business and doing

  business in the State of Florida. Defendant owns, operates, and/or controls a retail furniture store

  and showroom located at 2050 N. Federal Highway, Delray Beach, Florida that Plaintiff had

  patronized and intended to patronize in the near future. Defendant also owns, leases, leases to, or

  operates a business in South Florida that is the recipient of federal financial assistance for the

  company as a whole within the meaning of the Rehab Act, 29 U.S.C§794(b)(3)(A)(i). See Exhibit

  “A” attached hereto.




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         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet.       Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates a retail furniture store and showroom under the name “Our Boat House.” The Our

  Boat House store and showroom are open to the public. As the owner, operator, and/or controller

  of this retail store and showroom, Defendant is defined as a place of “public accommodation”

  within meaning of Title III because Defendant is a private entity which owns and/or operates “[A]

  bakery, grocery store, clothing store, hardware store, shopping center, or other sales or rental

  establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, it is a place of public

  accommodation subject to the requirements of Title III of the ADA and its implementing

  regulations, 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://www.ourboathouse.com (hereinafter the “Website”). One of the functions of the Website is

  to provide the public information on the locations of Defendant’s store. Defendant also sells to

  the public its merchandise through the Website, which acts as a critical point of sale for

  Defendant’s merchandise that is also available for purchase in Defendant’s physical store.




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  Furthermore, the Website allows the purchasers the option to pick-up and return merchandise

  purchased online at its physical locations.

         13.     The Website also services Defendant’s physical stores by providing information on

  its available merchandise, services, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about

  Defendant’s physical store and showroom, make in-store and at-home design appointments,

  purchase merchandise also available for purchase in the physical store, purchase gift cards for use

  in the physical store, and sign up for an electronic emailer to receive exclusive online offers,

  benefits, invitations, and discounts for use online and in the physical store, the Website is an

  extension of, and gateway to, the same goods, services, privileges, and advantages as are available

  in and from Defendant’s physical store, which is a place of public accommodation under the ADA.

  As an extension of and necessary service, privilege, and advantage provided by a place of public

  accommodation as defined under the ADA, the Website is an extension of the services, privileges,

  and advantages made available to the general public by Defendant at and through its brick-and-

  mortar location and business. Furthermore, the Website is a necessary service and privilege of

  Defendant’s physical store in that, as a point of sale for Defendant’s store, it enables users of the

  Website to make online purchases of Defendant’s merchandise that is also available for purchase

  in and from its physical store.

         15.     Because the public can view and purchase Defendant’s merchandise through the

  Website that is also offered for sale in Defendant’s physical store, thus having the Website act as

  a point of sale for Defendant’s merchandise sold in and from the physical store, make in-store and

  at-home design appointments, purchase gift cards for use in physical store, and sign up for an



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  electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  online and in the physical store, the Website is an extension of, and gateway to the physical store,

  which is a place of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E). As

  such, the Website is a necessary service, privilege, and advantage of Defendant’s brick and mortar

  store that must comply with all requirements of the ADA, must not discriminate against individuals

  with visual disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages afforded to the non-visually disabled

  general public both online and in the physical store.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and controlling the Website. Since the Website is open to the public through the internet

  and is a point of sale for merchandise and gift cards sold at, in, and through Defendant’s physical

  store and a point of scheduling design services both in-home and at the physical store, the Website

  is a necessary services, privilege, and advantage, of Defendant’s brick and mortar store that must

  comply with all requirements of the ADA, must not discriminate against individuals with visual

  or physical disabilities, and must not deny those individuals the full and equal access to and

  enjoyment of the goods, services, privileges, and advantages afforded the non-visually disabled

  public both online and in the physical store.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical store and to check store hours and merchandise pricing, review and schedule

  available design services, purchase merchandise, purchase gift cards, and sign up for an electronic

  emailer to receive exclusive offers, benefits, invitations, and discounts for use at the Website or in

  Defendant’s physical store.



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         18.     The opportunity to shop and pre-shop Defendant’s merchandise, make in-store and

  at-home design appointments, purchase gift cards, and sign up for an electronic emailer to receive

  exclusive online offers, benefits, invitations, and discounts for use both online and in the physical

  store from his home are important and necessary accommodations for Plaintiff because traveling

  outside of his home as a physically and visually disabled individual is often difficult, hazardous,

  frightening, frustrating and confusing experience.       Defendant has not provided its business

  information in any other digital format that is accessible for use by blind and visually impaired

  individuals using screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits, and to compare merchandise, prices, sales, discounts, and promotions. Plaintiff

  may look at several dozens of sites to compare product features, services, discounts, promotions,

  and prices.

         20.     During the month April 2021, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise, services, and online offers to plan his store

  visits, to educate himself as to the merchandise, services, sales, discounts, and promotions being

  offered, and to learn about the brick-and-mortar store, check store hours, and check merchandise

  pricing with the intention of making a purchase through the Website or at Defendant’s store.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent its free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Shopping cart, account, and search button all mislabeled as “link”;



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                 b. Submenu inaccessible when navigating with a keyboard;

                 c. Phone number lacks description; and

                 d. Return to home button mislabeled.

         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, services, and promotions, as provided on the Website

  and at the physical store to the non-visually disabled public.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical store and to use the Website as a

  necessary extension, service, privilege, and advantage of the physical store, but he is presently

  unable to fully do so, as he is unable to effectively communicate with Defendant’s physical store

  due to his severe visual disability and the Website’s access barriers. Thus, Plaintiff, and others

  who are blind and visually disabled, will suffer continuous and ongoing harm from Defendant’s

  intentional acts, omissions, policies, and practices as set forth herein unless properly enjoined by

  this Court.



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          26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s retail store for its goods, services, operation, and use, and thus is a necessary

  extension, service, privilege, advantage, and accommodation of Defendant’s brick and mortar store

  for the purchase of Defendant’s merchandise and the scheduling of Defendant’s services, the

  Website must comply with all requirements of the ADA, must not discriminate against individuals

  with disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages as afforded the non-visually disabled

  public both online and in the physical store, which is a place of public accommodation subject to

  the requirements of the ADA. In addition, because Defendant is a recipient of federal funds to the

  company as a whole, Defendant is also subject to the requirements of the Rehab Act and must not

  discriminate against qualified or otherwise qualified individuals with disabilities in any and all of

  its “programs and activities”, including the Website.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.




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          31.     On information and belief, Defendant has not instituted a User Accessibility

   Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

          33.     On information and belief, Defendant has not instituted an Automated Web

   Accessibility Testing program.

          34.     Defendant has not created and instituted a Specialized Customer Assistance line or

   service or email contact mode for customer assistance for the blind and visually disabled.

          35.     Defendant has not created and instituted on the Website a page for individuals with

   disabilities, nor displayed a link and information hotline, nor created an information portal

   explaining when and how Defendant will have the Website, applications, and digital assets

   accessible to the visually disabled or blind community.

          36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

   2.0 Level AA or higher versions of web accessibility.

          37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

   to correct the inaccessibility of the Website to blind and visually disabled individuals who want

   the safety and privacy of purchasing Defendant’s merchandise and scheduling Defendant’s

   services offered on the Website from their homes.

          38.     Thus, Defendant has not provided full and equal access to and enjoyment of the

   goods, services, facilities, privileges, advantages, accommodations, programs, and activities

   provided by and through the Website in contravention of the ADA and the Rehab Act.

          39.     Public accommodations under the ADA must ensure that their places of public

   accommodation provide effective communication for all members of the general public, including

   individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act, public



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   accommodations and companies that receive federal financial assistance as a whole must not

   discriminate against disabled persons and are required to make all the facilities, programs, or

   activities they operate, including their websites, fully and readily accessible to persons with

   disabilities.

           40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

   with disabilities to participate in and benefit from all aspects of American civic and economic life.

   That mandate extends to internet shopping Websites, such as the Website at issue in the instant

   action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that

   all programs, projects and activities receiving federal assistance " ... be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. §701(c)(3).

           41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with disabilities who are visually

   disabled from the means to comprehend information presented therein.

           42.     Defendant is, and at all relevant times has been, aware of the need to provide full

   access to all visitors to the Website.

           43.     The barriers that exist on the Website result in discriminatory and unequal

   treatment of individuals with visual disabilities such as Plaintiff.

           44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

   alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

   to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

   in connection with its website access and operation.




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          45.       Notice to Defendant is not required because of Defendant’s failure to cure the

   violations.

          46.       Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

   pursuant to 28 U.S.C. §§2201 and 2202.

          47.       Plaintiff has retained the undersigned attorneys to represent him in this case and

   has agreed to pay them a reasonable fee for their services.

                                           Trespass Violations

          48.       Plaintiff utilizes his computer to access websites such as Defendant’s Website.

          49.       Plaintiff uses his computer as a method of conveyance of his personal information.

   Plaintiff stores his personal information and retains his browsing history on his computer.

          50.       Based upon a review of the Website, when a user accesses the Website, Defendant

   places software on the Plaintiff’s personal computer and hard drive, without the user’s advance

   consent or knowledge. It is also clear that Defendant has used browser cookies to identify websites

   that Plaintiff has previously visited by accessing Plaintiff’s web browser history.

          51.        Defendant informs the Website user that the user’s personal information and

   browsing history is collected and is used for targeted marketing and advertising.

          52.       Because of his blindness, Plaintiff was unable to fully and meaningfully

   comprehend the Website; therefore, Plaintiff had no choice as to, and likewise no knowledge of,

   Defendant’s installation of the data and information gathering and tracking software, and the

   collection of his browsing history, that was placed on his computer and its hard drive, which in

   fact occurred.




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          53.     Through its Website, Defendant thus has committed a trespass against the Plaintiff

   by the Website’s placement of information gathering and tracking software on Plaintiff’s computer

   without Plaintiff’s knowledge or prior consent.

                               COUNT I – VIOLATION OF THE ADA

          54.     Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.

          55.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

   the ADA because it owns and/or operates physical stores and the connected Website as defined

   within §12181(7)(E) and is subject to the ADA.

          56.      Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

   because it provides the general public with the ability to locate and learn about Defendant’s store,

   purchase merchandise that is also available for purchase in and from the physical store, make in-

   store and at-home design appointments, purchase gift cards for use both online and in the physical

   store, and sign up for an electronic emailer to receive exclusive online offers, benefits, invitations,

   and discounts for use both online and in the physical store. The Website thus is an extension of,

   gateway to, and necessary service, privilege, and advantage of Defendant’s physical store that

   Plaintiff intended to patronize. Further, the Website also serves to augment Defendant’s physical

   store by providing the public information on the location of the store and by educating the public

   as to Defendant’s available products sold and services offered through the Website and in its

   physical store. The Website thus is necessary for Plaintiff to fully and equally enjoy and have

   access to all of the goods, services, privileges, and advantages being offered by Defendant both

   online and in its physical store.

          57.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

   discrimination to deny individuals with disabilities or a class of individuals with disabilities an



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   opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

   or accommodation, which is equal to the opportunities afforded to other individuals.

          58.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

          59.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps as may be necessary to

   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

          60.     Defendant’s Website must comply with the ADA, but it does not as specifically

   alleged hereinabove and below.

          61.     Because of the inaccessibility of the Website, individuals with visual disabilities

   are denied full and equal enjoyment of the goods, information, and services that Defendant has

   made available to the public on its Website and in its physical store in violation of 42 U.S.C.

   §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

          62.     The Website was subsequently visited by Plaintiff’s expert in April 2021, and the

   expert determination was that the same access barriers that Plaintiff had initially encountered, as



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   well as numerous additional access barriers, existed. Defendant thus has made insufficient material

   changes or improvements to the Website to enable its full use, enjoyment, and accessibility for

   blind and visually disabled persons such as Plaintiff. Defendant also has not disclosed to the public

   any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

   disabled individuals, nor has it posted on the Website a conspicuous and effective “accessibility”

   notice, statement, or policy to provide blind and visually disabled person such as Plaintiff with a

   viable alternative means to access and navigate the Website. Defendant thus has failed to make

   reasonable modifications in its policies, practices, or procedures when such modifications are

   necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

   individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a functional, viable

   and effective “accessibility” notice, policy, or statement and the numerous access barriers as set

   forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite

   Exhibit “B” and the contents of which are incorporated herein by reference, continue to render the

   Website not fully accessible to users who are blind and visually disabled, including Plaintiff.

           63.     More violations may be present on other pages of the Website, which can and will

   be determined and proven through the discovery process in this case.

           64.     Further, the Website does not offer or include the universal symbol for the disabled

   that would permit disabled individuals to access the Website’s accessibility information and

   accessibility facts.

           65.     There are readily available, well established guidelines on the internet for making

   websites accessible to the blind and visually disabled. These guidelines have been followed by

   other large business entities in making their websites accessible. Examples of such guidelines

   include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be



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   performed using a keyboard. Incorporating such basic components to make the Website accessible

   would neither fundamentally alter the nature of Defendant’s business nor would it result in an

   undue burden to Defendant.

          66.     Defendant has violated the ADA – and continues to violate the ADA – by denying

   access to the Website, and hence its connected physical stores, by individuals such as Plaintiff with

   visual disabilities who require the assistance of interface with screen reader software to

   comprehend and access internet websites. These violations within the Website are ongoing.

          67.     The ADA require that public accommodations and places of public accommodation

   ensure that communication is effective.

          68.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

   text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

          69.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

   appropriate auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

   in accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

          70.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

   public accommodations, and requires places of public accommodation to be designed, constructed,

   and altered in compliance with the accessibility standards established by Part 36.




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          71.     As alleged hereinabove, the Website has not been designed to interface with the

   widely and readily available technologies that can be used to ensure effective communication, and

   thus violates the ADA.

          72.     As a direct and proximate result of Defendant’s failure to provide an ADA

   compliant Website that is an extension, service, privilege, and advantage of, and critical and

   necessary point of sale and point of arranging design services for, Defendant’s brick and mortar

   store, Plaintiff has suffered an injury in fact by being denied communication with and full access

   to and enjoyment of the goods, services, privileges, and advantages of Defendant’s physical store.

          73.     Because of the inadequate development and administration of the Website, Plaintiff

   is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.

          74.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff appropriate and necessary injunctive relief, including an order to:

          a) Require Defendant to adopt and implement a web accessibility policy to make publicly

   available and directly link from the homepage of the Website to a functional statement as to the

   Defendant’s policy to ensure persons with visual disabilities have full and equal enjoyment of the

   goods, services, facilities, privileges, advantages, and accommodations offered in Defendant’s

   physical store through the Website.

          b) Require Defendant to take the necessary steps to make the Website readily accessible

   to and usable by blind and visually disabled users, and during that time period prior to the

   Website’s being readily accessible, to provide an alternative method for individuals with visual

   disabilities to access the information available on the Website until such time that the requisite

   modifications are made, and



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          c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

   visual disabilities will be able to effectively communicate with the Website for purposes of

   viewing and locating Defendant’s physical store and becoming informed of and purchasing

   Defendant’s merchandise online and from the physical store, and during that time period prior to

   the Website’s being designed to permit individuals with visual disabilities to effectively

   communicate, to provide an alternative method for individuals with visual disabilities to

   effectively communicate for such goods and services made available to the general public through

   the Website and the physical store.

          75.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

   pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

   for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

   services.

          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

          A. A declaration that Defendant’s Website is in violation of the ADA;

          B. An Order requiring Defendant, by a date certain, to update the Website, and continue

                to monitor and update the Website on an ongoing basis, to remove barriers in order that

                individuals with visual disabilities can access, and continue to access, the Website and

                effectively communicate with the Website to the full extent required by Title III of the

                ADA;




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        C. An Order requiring Defendant, by a date certain, to clearly display the universal

           disabled logo within the Website, wherein the logo 1 would lead to a page which would

           state Defendant’s accessibility information, facts, policies, and accommodations. Such

           a clear display of the disabled logo is to ensure that individuals who are disabled are

           aware of the availability of the accessible features of the Website;

        D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

           accessibility by implementing a website accessibility coordinator, a website application

           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform




   1
                    or similar.
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                   all web content and services with ADA accessibility requirements and applicable

                   accessibility guidelines;

             I. An Order directing Defendant, by a date certain and at least once every three months

                   thereafter, to conduct automated accessibility tests of the Website to identify any

                   instances where the Website is no longer in conformance with the accessibility

                   requirements of the ADA and any applicable accessibility guidelines, and further

                   directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

                   counsel for review;

             J. An Order directing Defendant, by a date certain, to make publicly available and directly

                   link from the Website homepage, a statement of Defendant’s Accessibility Policy to

                   ensure the persons with disabilities have full and equal enjoyment of the Website and

                   shall accompany the public policy statement with an accessible means of submitting

                   accessibility questions and problems;

             K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

             L. Such other and further relief as the Court deems just and equitable.

                      COUNT II – VIOLATION OF THE REHABILITATION ACT

             76.      Plaintiff re-alleges paragraphs 1 through 47 and 62 through 65 as if set forth fully

   herein.

             77.      As more specifically set forth above, Defendant has violated the Rehab Act by

   failing to interface the Website with software utilized by visually impaired individuals. Thus,

   Defendant has violated the following provisions either directly or through contractual, licensing

   or other arrangements with respect to Plaintiff and other similarly situated individuals solely by

   reason of their disability:



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          a)      By excluding Plaintiff from participation in and denying him the benefits of or

   subjecting him to discrimination under any program or activity receiving federal financial

   assistance, Defendant has violated the Rehab Act;

          b)      Congress enacted the Rehab Act to enforce the policy of the United States that all

   programs, projects, and activities receiving federal assistance " ... be carried out in a manner

   consistent with the principles of ... inclusion, integration and full participation of the individuals

   [with disabilities]." 29 U.S.C. Section 701 (c)(3);

          c)      Defendant is a recipient of federal financial assistance as a whole bringing it under

   the Rehab Act which prohibits discrimination against qualified or otherwise qualified individuals

   in the recipient's "programs or activities";

          d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

   discriminating against disabled persons and requires that facilities, programs, or activities operated

   by a federally funded entity be readily accessible to persons with disabilities;

          e)      The Rehab Act defines "program or activity" as all of the operations of the entire

   corporation, partnership, or other private organization, or sole proprietorship which receives

   federal financial assistance as a whole. Defendant's Website and its content is a "program or

   activity" within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A)(i);

          f)      Plaintiff was denied access to Defendant's Website solely by reason of his

   disability. This denial of access to Defendant's "program or activity" subjected Plaintiff to

   discrimination, excluded Plaintiff from participation in the program or activity, and denied

   Plaintiff the benefits of the Website, a service available to those persons who are not blind. As of

   this filing, the Website remains inaccessible to qualified or otherwise qualified persons;




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          g)      The international website standards organization, WC3, has published widely-

   accepted guidelines ("WCAG 2.0 and WCAG 2.1 AA") for making digital content accessible to

   individuals with disabilities. These guidelines have been endorsed the United States Department

   of Justice and by Federal Courts and the United States Access Board; and,

          h)      Defendant has engaged in unlawful practices in violation of the Rehab Act since it

   launched the Website. These practices include, but are not limited to, denying Plaintiff, an

   individual with a disability who, with or without reasonable modifications to the rules, policies, or

   practices, the removal of communication barriers, or the provision of auxiliary aids and services,

   meets the essential eligibility requirements for the receipt of services to participate in programs or

   activities provided by Defendant.

          78.     Defendant has acted with deliberate indifference to the applicable provisions of the

   Rehab Act as to the unlawful practices described herein because Defendant was and is fully aware

   of the inaccessible features of its Website and has failed to remediate the Website to make it

   equally accessible to persons with visual disabilities. Defendant knew that harm to a federally

   protected right was substantially likely, yet and it failed to act on that likelihood when it failed to

   remediate its Website. Defendant knew this, and on information and belief, a person with authority

   with Defendant to order the remediation of the Website made a deliberate choice not to remediate

   and to continue to offer the inaccessible Website to its customers and potential customers knowing

   that the Website was, and continues to be, inaccessible to the blind and visually disabled.

          79.     Plaintiff would like to be a customer at Defendant's brick and mortar store but

   before he goes to Defendant’s store, he would like to determine what is available for his

   purchasing, what promotions are being offered, what services are being offered, and what new

   items are currently available. In that regard, Plaintiff continues to attempt to utilize the Website



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   and/or plans to continue to attempt to utilize the Website on a regular basis to make selections for

   purchasing and scheduling of design services online or in the store.

          80.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

   that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

   unless he is willing to suffer additional discrimination.

          81.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

   result of the discriminatory conditions present at Defendant's Website. By continuing to operate

   the Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

   and segregation and deprives Plaintiff the full and equal enjoyment of the benefits of -Defendant's

   programs and activities available to the general public. By encountering the discriminatory

   conditions at the Website and knowing that it would be a futile gesture to attempt to utilize the

   Website unless he is willing to endure additional discrimination, Plaintiff is deprived of the

   meaningful choice of freely visiting and utilizing the same store or Website readily available to

   the general public and is deterred and discouraged from doing so. By maintaining a website with

   access and Rehab Act violations, Defendant deprives Plaintiff the equal access to, and same

   participation in and benefits of its programs and activities as the non-visually disabled public.

          82.     Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

   of Defendant's discrimination until the Defendant is compelled to comply with the requirements

   of the Rehab Act.

          83.     Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

   from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

   above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

   discrimination in violation of the Rehab Act by the Defendant. Plaintiff desires to access the



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   Website to avail himself of the benefits, therein, and/or to assure himself that this Website is in

   compliance with the Rehab Act so that he and others similarly situated will have full and equal

   enjoyment of the Website without fear of discrimination.

           84.     The Plaintiff and all others similarly situated will continue to suffer such

   discrimination, injury, and damage without the immediate relief provided by the Rehab Act as

   requested herein.

           85.     Plaintiff is without adequate remedy at law and is suffering irreparable harm based

   on the facts alleged hereinabove.

           86.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

   fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §

   794a.

           WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

   the following relief:

           A.      A declaration that determines that Defendant's Website at the commencement of

   the subject lawsuit is in violation of the Rehabilitation Act;

           B.      A declaration that Defendant's Website continues to be in violation of the

   Rehabilitation Act;

           C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

   monitor and maintain its Website to ensure that it is readily accessible to and usable by persons

   with visual disabilities;

           D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

   to, and useable by, individuals with visual disabilities to the full extent required by the

   Rehabilitation Act;



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          E.      Issuance of an Order directing Defendant to evaluate and neutralize its policies and

   procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

   undertake and complete corrective and remedial procedures;

          F.      Issuance of an Order directing Defendant to continually update and maintain its

   Website to ensure that it remains fully accessible to and usable by visually disabled individuals;

          G.      An award to Plaintiff of his compensatory damages for Defendant’s willful and

   deliberately indifferent violations of the Rehab Act;

          H.      Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

   U.S.C. §794a; and

          I.      Award such other relief as the Court deems just and proper, and/or is allowable

   under the Rehabilitation Act.

                                        COUNT III – TRESPASS

          87.     Plaintiff re-alleges paragraphs 1 through 53 as if set forth fully herein.

          88.     Plaintiff’s tangible personal property, being his computer, its hard drive, and the

   personal information and browsing history stored therein, has suffered a trespass by Defendant on

   each and every occasion that Plaintiff has accessed the Website, due to Defendant’s automatic

   installation of information gathering and tracking software and analytics, which are present on and

   through the Website, on Plaintiff’s computer.

          89.     At all relevant times, Plaintiff did not consent to and was unaware that the Website

   was placing software on his computer due to his inability to effectively communicate with and

   fully view and access the Website.

          90.     Plaintiff did not consent to the placement of the information gathering and tracking

   software on his computer and its hard drive; therefore, Defendant has committed a trespass against



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   Plaintiff by placing such software on his computer and hard drive without his knowledge or prior

   consent.

          91.     By the acts described hereinabove, Defendant has repeatedly and persistently

   engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

   trespass.

          92.     Defendant’s automatic installation, operation, and execution of information

   gathering and tracking software on Plaintiff’s computer and its hard drive have directly and

   proximately impaired the condition and value of the Plaintiff’s computer, thereby causing Plaintiff

   damages.

          93.     The Website has a “Privacy Policy” that discusses the automatic gathering of

   information from and the automatic placement of cookies and other information gathering software

   on, computers and electronic devices of users of the Website such as Plaintiff. A copy of that

   “Privacy Policy” is attached hereto as Exhibit “C” and its contents are incorporated herein by

   reference.

          94.     Defendant’s trespass to chattels, nuisance, and interference has caused real and

   substantial damage to Plaintiff as follows:

          a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

   computer (including space, memory, processing cycles, and internet connectivity);

          b) By infringing on Plaintiff’s right to exclude others from his computer;

          c) By infringing on Plaintiff’s right to determine, as the owner of his computer, which

   programs should be installed and operated on his computer;

          d) By compromising the integrity, security, and ownership of Plaintiff’s computer; and




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          e) By forcing Plaintiff to expend money, time, and resources in order to remove the

   programs that had been installed on his computer without notice or consent.

          95.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

   disregard for Plaintiff’s rights under the law.

          WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

   Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

   and equitable.

          DATED: July 6, 2021

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